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                                           STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL
   LETITIA JAMES                                                                   DIVISION OF REGIONAL OFFICES
ATTORNEY GENERAL                                                                    BUFFALO REGIONAL OFFICE

                                                May 24, 2022

     (via CM/ECF)

     Hon. John L. Sinatra, Jr.
     United States District Court Judge
     United States Courthouse
     2 Niagara Square
     Buffalo, New York 14202

            RE:     Constantino-Gleason v. State of New York Unified Court System, et al.
                    Western District Court
                    Case No.: 21-cv-6327

     Dear Judge Sinatra:

             As the Court may recall, it referred this case to mediation pending a decision on Defendants’
     motion to dismiss. See ECF No. 22. The parties subsequently requested additional time to hold the
     initial mediation session because a change in the Plaintiff’s employment circumstances rendered
     moot one of the settlement options Defendants had planned on exploring. The Court granted that
     request and directed that the parties file a joint status report by today’s date. See ECF No. 25. This
     letter will serve as the parties’ joint status report.

              The initial mediation session was held on April 26, 2022. Several different components of a
     settlement were discussed, and some seemed to hold promise, but additional information needed to
     be gathered to explore their possibility. Accordingly, the mediator adjourned the mediation with the
     parties intending to hold a second mediation session. That session has not been scheduled but it is
     still the parties’ intention to do so. Accordingly, the parties request an additional sixty days to
     complete mediation.



                                                    Respectfully,


                                                    /s/ David J. Sleight
                                                    David J. Sleight
                                                    Assistant Attorney General

     DJS/rmp
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